             Case 1:02-cr-05367-LJO Document 247 Filed 12/02/08 Page 1 of 2


P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                         )
                                                 )
                             vs.                 )     Docket Number: 1:02CR05367-006
                                                 )
MANUEL RIOS                                      )
                                                 )


On November 3, 2003, the above-named was placed on Supervised Release for a period of
four years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                   Respectfully submitted,

                                    /s/ Thomas A. Burgess

                                 THOMAS A. BURGESS
                       Supervising United States Probation Officer

Dated:         December 2, 2008
               Bakersfield, California
               TAB:dk




                                                                                                        R ev. 05/2006
                                                             E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
          Case 1:02-cr-05367-LJO Document 247 Filed 12/02/08 Page 2 of 2


Re:   Manuel RIOS
      Docket Number: 1:02CR05367-006
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                ORDER OF COURT

It is ordered that the releasee be discharged from Supervised Release, and that the
proceedings in the case be terminated.

IT IS SO ORDERED.

Dated: December 2, 2008                  /s/ Oliver W. Wanger
emm0d6                              UNITED STATES DISTRICT JUDGE




                                                                                                  R ev. 05/2006
                                                       E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
